                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 BRIELLE PENKOSKI,

        Plaintiff,                                Case No. 2:20-cv-00065
 v.
                                                  Chief Judge Waverly D. Crenshaw, Jr.
 OVERTY COUNTY BOARD OF                           Magistrate Judge Alistair E. Newbern
 EDUCATION, et al.,

        Defendants.


                                            ORDER

        Plaintiff Brielle Penkoski and Defendant Overton County Board of Education filed a

notice of the status of their settlement stating that the parties have not reached an agreement on

attorney fees but anticipate reaching an agreement within thirty days. (Doc. No. 149.)

       The parties are ORDERED to file a second notice of status of the settlement or to make the

necessary filings to terminate the action by February 7, 2024.

       It is so ORDERED.



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                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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